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 1 PHILLIP A. TALBERT
   United States Attorney
 2 KEVIN C. KHASIGIAN
   Assistant U.S. Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700

 5 Attorneys for the United States

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:21-CV-02353-TLN-DB
12                  Plaintiff,
                                                       DECLARATION OF TAMMY TEGLIA IN
13          v.                                         SUPPORT OF EX PARTE MOTION FOR
                                                       DEFAULT JUDGMENT AND FINAL
14   APPROXIMATELY 10.19321397                         JUDGMENT OF FORFEITURE
     BITCOIN,
15
                    Defendant.
16

17          I, TAMMY TEGLIA, declare as follows:

18          1.      I am the Paralegal Specialist assigned to the above-captioned civil forfeiture action.

19          2.      I have personal knowledge of the following matters, except those stated on information

20 and belief, and as to those matters I believe them to be true, and if called as a witness in this proceeding,

21 after being duly sworn, I could and would competently testify thereto.

22 Caroline Hepworth

23          3.      On January 6, 2022, the United States mailed copies of the complaint, application and

24 order for publication, warrant for arrest, order requiring service of process and joint status report, order re

25 filing requirements, and court notices to Caroline Hepworth at 246 Schlaf Drive, Oroville, CA 95965, by

26 first class mail and certified mail number 7018 0360 0000 6580 0529. The PS Form 3811 (certified mail

27 “green card” showing delivery of mail) was signed by Caroline Hepworth on January 19, 2022. A true

28

                                                           1                                 Declaration of Tammy Teglia
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 1 and correct copy of the letters mailed to Caroline Hepworth and the certified mail receipt are attached as

 2 Exhibit A.

 3          4.     On January 19, 2022, the U.S. Secret Service personally served the above-listed

 4 documents on Caroline Hepworth at 246 Schlaf Drive, Oroville, CA 95965. A true and correct copy of

 5 the Process Receipt and Return filed March 2, 2022, is attached as Exhibit B.

 6          5.     On or about January 25, 2022, Ms. Hepworth submitted a Consent of U.S. Magistrate

 7 Judge Jurisdiction form to the Clerk’s Office for filing (ECF No. 7). On January 27, 2022, the U.S.

 8 Secret Service case agent told me he spoke to Ms. Hepworth regarding the Consent of U.S. Magistrate

 9 Judge Jurisdiction form she submitted to the Clerk’s Office. The agent informed me that Ms. Hepworth

10 misunderstood what she was consenting to, did not want to file a claim in this case, and asked how she

11 could have the form rescinded. The agent said he told Ms. Hepworth she should contact the Clerk’s

12 Office to see if the form could be withdrawn. Later that day, the agent told me that Ms. Hepworth had

13 called the Clerk’s Office and was told they would make a note to disregard the paperwork she sent them.

14 The docket says “[DISREGARD – Filed in error]” for document number 7. ECF No. 7.

15 Binance

16          6.     On January 6, 2022, the United States mailed copies of the above-listed documents to

17 Binance at Level 3, Melita Court, Triq Giuseppe Cali, Ta’Xbiex XBX 1420 Malta, by International

18 Federal Express. According to Federal Express, the package was refused by Binance on January 12,

19 2022. A true and correct copy of the letter sent to Binance and the Federal Express tracking history are

20 attached as Exhibit C.

21          7.     On January 6, 2022, the United States sent copies of the above-listed documents to

22 Binance by email to the following email address: case@binance.com. On January 6, 2022, Binance

23 responded via email that they were receiving heavy email traffic and would respond to our inquiry

24 shortly. On January 26, 2022, I received formal correspondence from an individual named Nikolai with

25 the Binance Case Team. Nikolai’s correspondence provided information on the Binance Case unit and

26 an attached document set forth the current balance for the account the United States seized the defendant

27 cryptocurrency from, as well as information specific to Binance concerning account freezes, seizures, and

28

                                                         2                                Declaration of Tammy Teglia
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              EXHIBIT A
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               EXHIBIT B
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               EXHIBIT C
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                                                             TRACK ANOTHER SHIPMENT



                                                                    775686359823

                                                                    ADD NICKNAME


                                                                       ON T I M E


               No scheduled delivery date available at this time.



                                                             Scheduled delivery:
                                                                 Pending



                                                                     I N TR A N S IT
                                                           At FedEx destination facility
                                                                   LUQA, MT
                                                                GET STATUS UPDATES


                                    FROM                                                                             TO

                            SACRAMENTO, CA US                                                                    TA XBIEX, MT




Travel History


 TI ME ZO NE
 Local Scan Time


 Monday, January 24,
 2022

 5:22 PM                                              LUQA MT                          At local FedEx facility


 Friday, January 21,
 2022

 5:52 PM                                              LUQA MT                          At local FedEx facility


 Thursday, January 20,
 2022

 5:58 PM                                              LUQA MT                          At local FedEx facility


 Wednesday, January 12,
 2022
 1:07 PM        Case 2:21-cv-02353-TLN-DB
                                     LUQA MT Document 22-1
                                                        Delay Filed 05/17/22 Page 17 of 27
                                                                     Shipment Refused by recipient.

 11:20 AM                             LUQA MT                        On FedEx vehicle for delivery

 10:36 AM                             LUQA MT                        International shipment release - Import

 10:36 AM                             LUQA MT                        In transit
                                                                     Package available for clearance

 10:36 AM                             LUQA MT                        At local FedEx facility


 Tuesday, January 11,
 2022

 5:15 AM                              TREMBLAY EN FRANCE FR          In transit

 4:01 AM                              ROISSY CHARLES DE              Departed FedEx hub
                                      GAULLE CEDEX FR

 Saturday, January 8,
 2022

 11:08 PM                             ROISSY CHARLES DE              International shipment release - Import
                                      GAULLE CEDEX FR

 11:07 PM                             ROISSY CHARLES DE              In transit
                                      GAULLE CEDEX FR                Package available for clearance

 10:29 PM                             ROISSY CHARLES DE              Arrived at FedEx hub
                                      GAULLE CEDEX FR

 7:31 AM                              MEMPHIS, TN                    Departed FedEx hub

 6:41 AM                              MEMPHIS, TN                    In transit


 Friday, January 7,
 2022

 10:53 PM                             MEMPHIS, TN                    In transit


 Thursday, January 6,
 2022

 4:41 PM                              SACRAMENTO, CA                 Picked up

 4:12 PM                                                             Shipment information sent to FedEx


                                                  Collapse History

Shipment Facts

 TRACK I N G N U M B ER               SERVI C E                                             WEIGHT
 775686359823                         FedEx International Economy                           1 lbs / 0.45 kgs


 TOTAL P I E C E S                    TOTAL S H I P M E NT WEIGHT                           TERMS
 1                                    1 lbs / 0.45 kgs                                      Shipper

 PURCH A S E O R D E R NUMBER         SHIPP E R R E F E R ENCE                              PACKAG I N G
 USA/SS/CAE1/SACR                     Binance                                               FedEx Envelope
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               EXHIBIT D
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Teglia, Tammy (USACAE)

From:                Teglia, Tammy (USACAE)
Sent:                Thursday, January 6, 2022 5:00 PM
To:                  case@binance.com
Subject:             U.S. v. Approximately 10.19321397 Bitcoin, 2:21-CV-02353-JAM-DB
Attachments:         potential clmnt ltr Binance.pdf; Complaint filed 12 17 21.pdf; publ app & ord lodged 12 17 21.pdf;
                     arrest warrant clerks issued 1 4 22.pdf; Ord re Service and JSR.pdf; Ord Re Filing Requirements.pdf;
                     Mag Judge Consent ntc.pdf; Voluntary Dispute Resolution ntc.pdf


Binance,

Please see the attached Notice of Forfeiture Action along with the court documents referenced in the notice. The
documents were also sent to your office via International Federal Express today and is related to the Bitcoin seized
pursuant to a Federal seizure warrant that was held in User ID 25002089/User ID Number R8750839, controlled by and
in the name of Tarun Kumar Arora.

Thanks,

Tammy Teglia
Paralegal Specialist
Asset Forfeiture Unit
USAO ‐ Eastern District of California
916/554‐2768

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                                                             1
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Teglia, Tammy (USACAE)

From:               case <case+noreply@binance.com>
Sent:               Thursday, January 6, 2022 5:01 PM
To:                 Teglia, Tammy (USACAE)
Subject:            [EXTERNAL] Re: U.S. v. Approximately 10.19321397 Bitcoin, 2:21-CV-02353-JAM-DB


Hello,

Thank you for reaching out to Binance.

We are experiencing a high volume of inquiries at the moment and will greatly appreciate your patience.

We apologise in advance for the inconvenience.

Sincerely,
Binance Case Team




                                                           1
              Case 2:21-cv-02353-TLN-DB Document 22-1 Filed 05/17/22 Page 21 of 27

Teglia, Tammy (USACAE)

From:                Binance Case Team <case@binance.com>
Sent:                Wednesday, January 26, 2022 11:22 AM
To:                  Teglia, Tammy (USACAE)
Cc:                  case@binance.com
Subject:             [Not Virus Scanned] [EXTERNAL] [Not Virus Scanned] Re: U.S. v. Approximately 10.19321397 Bitcoin,
                     2:21-CV-02353-JAM-DB
Attachments:         Report_Tammy Teglia_26_01_2022.zip


This message has not been virus scanned because it contains encrypted or otherwise protected data. Please ensure you
know who the message is coming from and that it is virus scanned by your desktop antivirus software.
This message has not been virus scanned because it contains encrypted or otherwise protected data. Please ensure you
know who the message is coming from and that it is virus scanned by your desktop antivirus software.
Hi Tammy,

Thanks for the request.

Please refer to the attachment for the current balance available on the account.

Password for the file:

The amount available is around

A. For freezing of accounts, we would first require you agree on the assurance statement below.

‐ Binance Holdings Limited ("Binance") is a non‐U.S. company and is therefore not subject to U.S. subpoenas or other
compulsory process. However, as part of its commitment to cooperating with U.S. law enforcement, Binance is generally
willing to make a voluntary production of responsive information to aid U.S. law enforcement. In order to process this
request, please indicate your agreement to the following:

Any response by Binance to this request will be voluntary and Binance reserves its position on jurisdiction.
Binance is a witness, and not a subject or target, of the investigation or matter in which the information is being sought.
Although any Binance production will be voluntary, DOJ and its investigative partners will treat the information
produced as though it is subject Rule 6(e) of the Federal Rules of Criminal Procedure which are the federal grand jury
secrecy rules.
___

We accept digital email confirmation. For example “I, John Smith of FBI unit San Francesco office, agree to the above‐
proposed assurance by Binance. This email confirms my agreement and acknowledgment”.
___

B. We also ask to clarify which contact details (email address, the full name of the agent in charge of this case, and case
number) we can share with the owner of the frozen account, assuming they inquire about the status of their respective
accounts.

C. For seizing and transferring of funds, we would require you to agree on the following:

1) Binance is able to transfer only that specific types and amounts of cryptocurrency that are available on the user
account balance. Please provide us for a wallet address for each token you intend to seize from the requested account.

                                                             1
                Case 2:21-cv-02353-TLN-DB Document 22-1 Filed 05/17/22 Page 22 of 27
2) Agree that Binance can direct the account owner to communicate with law enforcement authorities directly by
sharing the case number and official work email address of the agent or agency in charge of the seizure.

If you have any questions, please do not hesitate to contact us.

We will be looking forward to receiving your response.

Kind regards,
Nikolai

Binance Case Team
BINANCE
www.binance.com

This e‐mail and any attachments are intended only for the attention of the addressee(s). Its unauthorized use,
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any attachment is virus‐free or has not been intercepted and amended.

On Fri, Jan 7, 2022 at 3:00 AM 'Teglia, Tammy (USACAE)' via case <case@binance.com> wrote:

 Binance,



 Please see the attached Notice of Forfeiture Action along with the court documents referenced in the notice. The
 documents were also sent to your office via International Federal Express today and is related to the Bitcoin seized
 pursuant to a Federal seizure warrant that was held in User ID 25002089/User ID Number R8750839, controlled by and
 in the name of Tarun Kumar Arora.



 Thanks,



 Tammy Teglia

 Paralegal Specialist

 Asset Forfeiture Unit

                                                            2
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USAO ‐ Eastern District of California

916/554‐2768



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                                                            3
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               EXHIBIT E
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Teglia, Tammy (USACAE)

From:                Teglia, Tammy (USACAE)
Sent:                Thursday, March 10, 2022 2:22 PM
To:                  tarun_0085@rediffmail.com; tarun13335@gmail.com
Subject:             U.S. v. Approximately 10.19321397 Bitcoin, 2:21-CV-02353-JAM-DB
Attachments:         potential clmnt ltr Arora.pdf; Complaint filed 12 17 21.pdf; publ app & ord filed 1 6 22.pdf; arrest
                     warrant clerks issued 1 4 22.pdf; Ord re Service and JSR.pdf; Ord Re Filing Requirements.pdf; Mag
                     Judge Consent ntc.pdf; Voluntary Dispute Resolution ntc.pdf


Mr. Tarun Kumar Arora,

Please see the attached Notice of Forfeiture Action along with the court documents referenced in the notice. This is
related to the Bitcoin seized pursuant to a Federal seizure warrant that was held in User ID 25002089/User ID Number
R8750839 at Binance.

Let me know if you have questions.

Tammy Teglia
Paralegal Specialist
Asset Forfeiture Unit
USAO ‐ Eastern District of California
916/554‐2768

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                                                             1
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